                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT WINCHESTER


UNITED STATES OF AMERICA                              )
                                                      )      Case No. 4:10-cr-40
v.                                                    )
                                                      )      MATTICE / LEE
TROY LEE PARTIN                                       )


                             REPORT AND RECOMMENDATION


        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on February 8, 2011.

At the hearing, defendant moved to withdraw his not guilty plea to Count One of the fifteen-count

Indictment and entered a plea of guilty to Count One in exchange for the undertakings made by the

government in the written plea agreement. On the basis of the record made at the hearing, I find the

defendant is fully capable and competent to enter an informed plea; the plea is made knowingly and

with full understanding of each of the rights waived by defendant; the plea is made voluntarily and

free from any force, threats, or promises, apart from the promises in the plea agreement; the

defendant understands the nature of the charge and penalties provided by law; and the plea has a

sufficient basis in fact.

        Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Count

One of the Indictment be granted, his plea of guilty to Count One be accepted, the Court adjudicate

defendant guilty of Count One of the Indictment, and a decision on whether to accept the plea

agreement be deferred until sentencing.         Defendant's bond was revoked and I further

RECOMMEND defendant remain in custody until sentencing in this matter. Acceptance of the




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plea, adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are

specifically reserved for the district judge.



                                                s/fâátÇ ^A _xx
                                                SUSAN K. LEE
                                                UNITED STATES MAGISTRATE JUDGE



                                       NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
of guilty in this matter. See 28 U.S.C. §636(b).




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